                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


RONNIE WALLACE LONG,                           )
                                               )     NO. 1:16CV539
               Petitioner,                     )
       v.                                      )
                                               )
FRANK L. PERRY, Secretary,                     )
N.C. Department of Public Safety, et al.,      )
                                               )
               Respondents.                    )

                                   RESPONDENT’S EXHIBITS

       1.      State v. Long, 293 N.C. 286, 237 S.E.2d 728 (1978);

       2.      Trial transcript;

       3.      1986 MAR;

       4.      1987 MAR transcript and Judge Walker’s July 8, 1988 order denying the MAR;

       5.      Petitioner’s Motion for Location and Preservation of Evidence;

       6.      2008 MAR;

       7.      2008 MAR transcript;

       8.      Judge Bridges’ February 20, 2009 order denying 2008 MAR;

       9.      State v. Long, 365 N.C. 5, 705 S.E.2d 735 (2011);

       10.     Petitioner’s appellate brief;

       11.     State’s appellate brief;

       12.     Harb v. Keller, 2010 U.S. Dist. Lexis 102061 (M.D.N.C. September 28, 2010)

               (unpublished);

       13.     Petitioner’s pro se federal habeas application form filed April 24, 1989;

       14.     State’s answer filed June 20, 1989;




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15.   January 31, 1990 Magistrate’s findings and recommendation of M.J. Eliason and

      May 3, 1990 final order and judgment of Judge Tilley;

16.   March 22, 2007 Letter from counsel for the SBI Mr. John H. Waters, stating, “A

      notation in the file by Deputy Director Weis indicates that once the lost laboratory

      case file was discovered a copy of that file was given to attorney Richard Rosen

      on January 13, 2006.”




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